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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

MOHAMMED HUSSAIN,

               Plaintiff/Counter-Defendant,
       v.
                                                                       18-cv-529-wmc
ASCENSION SACRED HEART -- ST. MARY’S
HOSPITALS, INC.,

               Defendant/Counter-Plaintiff.


       In a previous opinion and order, the court granted summary judgment in favor of

defendant/counter-plaintiff Ascension Sacred Heart -- St. Mary’s Hospitals, Inc. (“the Hospital”) and

against plaintiff/counter-defendant Mohammed Hussain.           (Opinion & Order (dkt. #70).)

Consistent with a previous order (dkt. #74), the court is now in receipt of a revised proffer by the

Hospital, specifically requesting only damages actually incurred in defending against Hussain’s

claims, in the amount of $110,177.50 in attorneys’ fees and $2,890.59 in costs (dkt. #75). Having

received no further objection from Hussain, and the court being satisfied that this request fairly

represents the compensatory damages owed for Hussain’s breach of contract,



                                              ORDER

       IT IS ORDERED that:

       1) Defendant/counter-plaintiff Ascension Sacred Heart -- St. Mary’s Hospitals, Inc. is
          entitled to monetary judgment in the amount of $113,068.09 against plaintiff/counter-
          defendant Mohammed Hussain.

       2) The clerk of court is directed to enter judgment in favor of defendant/counter-plaintiff
          Ascension Sacred Heart -- St. Mary’s Hospitals, Inc. on all claims and close this case.

       Entered this 5th day of May, 2021.

                                            BY THE COURT:

                                            /s/
                                            __________________________________
                                            WILLIAM M. CONLEY
                                            District Judge
